    Case 1:22-cv-01032-PKC-JRC Document 193 Filed 04/14/23 Page 1 of 1 PageID #: 3699




         Leo Shalit, Esq.


                                                                               April 13, 2023
         Hon. James Cho
         225 Cadman Plaza East
         Brooklyn, NY 11201

         Re: Third Party Action Safa Gelardi and Companions, LLC v. Carlos Roa
         Case: 1:22-CV-1032 (PKC)(JRC)

         Dear Judge Cho:

         I write this letter in compliance with the Court’s Order following oral argument on
         the Roa’s Discovery Motion.

         Third-Party Defendant Carlos Roa requests a settlement conference with the Court.
         A formal demand has been conveyed to the Defendants / Third -Party Plaintiff.

         The Defendants / Third -Party Plaintiff do not oppose the settlement conference.

         Your af irmant is not available for conference May 15, 2023 through May 26, 2023.

         Respectfully, I am available the May 8, 10, 11 or 12.


         Yours truly,


         Leo Shalit, Esq.

         Leo Shalit, Esq.




         Leo Shalit, Esq.   45 Glen Cove Road   Greenvale New York 11548   833.742.5481
f
